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             IN .T HE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                TWELFTH DIVISION


ANGELA MOODY                                                                             PLAINTIFF <Jr-<...)
                                                                           FILED· 11/18111 10t39:57 ~~
                                                                           LarN Crane Pulaski Circuit Clerk
v.                                    CASE NO. DR-2011-1586                CROl


EDWARD MOODY                                                                         DEFENDANT


                                    TEMPORARY ORDER


       . On the 4th day of October, 2011 , came the parties before the Court for temporary hearing.

The Plaintiff, Angela Moody, appearing by and through her attorneys, DOVER DIXON HORNE

PLLC, and the Defendant, Edward Moody, appearing by and through his attorneys, DODDS,

KIDD & RYAN. The Court, having heard the arguments of counsel and testimony of the parties

and reviewed the evidence presented, does hereby FIND and ORDER, as follows:

       1.      This Court has jurisdiction over the parties and subject matter hereto.

       2.      The Plaintiff, Angela Moody, is hereby awarded temporary care and custody of

the parties' minor child, Eden Moody, subject to visitation in favor of the Defendant, Edward

Moody, as follows:

               a.     WEEKEND VISITATION. Defendant shall be entitled to the following

weekend visitation with the minor child on the first (1 ~ and third (3rd) weekend of each month.

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                                                                               CIRCUIT COURT                               ORTO
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Friday       Defendant will pick up the minor child     Defendant shall return the minor
                                                                                                   I
             at home or from school at 11 :30 a.m. or   child to Plaintiff's residence after
             2:45 p.m. If, for any reason, the          dinner at 7:00 p.ni. If the Plaintiff is
             Defendant is unable to pick ·up the        unable to be home at the time the
             minor child from school on the Fridays     minor child is returned, Plaintiff will
             that he has visitation, he shall provide   insure that a proper babysitter is at
             the Plaintiff ample notice of same so      the residence to care for the minor
             that she may make arrangements to pick     child until Pfaintiff returns.
             up the minor child from school.
             Defendant may then pick up the minor
             child from Plaintiff's residence at 5:30
                                                                                                   I
             p.m. to begin his visitation.                                                         I1·
                                                                                                   I
Saturday     Defendant will pick up the minor child Defendant shall return the minor
             from Plaintiff's residence at 8:00 a.m. child to Plaintiff's residence after
                                                     dinner at 7 :00 p.m. If the Plaintiff is
                                                                                                   I
                                                     unable to be home at the time the
                                                     minor child is returned, Plaintiff will
                                                     insure that a proper babysitter is at
                                                     the residence to care for the minor
                                                     child until Plaintiff returns.

Sunday       Defendant will pick up the minor child Defendant shall return the minor
             from Plaintiff's residence at 8:00 a.m. child to Plaintiff's residence at after
                                                     dinner 7:00 p.m. If the Plaintiff is
                                                     unable to be home at the time the
                                                        minor child is returned, Plaintiff will
                                                        insure that a proper babysitter is at
                                                        the residence to care ·for the minor
                                                        child until Plaintiff returns.




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                c.                                         Defendant sha:ll r~eive the following
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                          WEEKDAY VISITATION.
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 weekday visitatiort with the minor child:                                                             i
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 Wednesday           l)~fendant may conti,nue to take the
 and Friday          minor child to school ·al appr()!dm!ltely
 Momings             7:·30 a.m. The parties understand that                  NIA
                     doe to the minor child's age, there ·may                                      i
                                                                                                   j
                                                                                                   I .
                     be times when she is not ready at 7:30.
                                                                                                   .!
 Every           Defendant may pick up the minor child Defendant shall return the minor            I
 Wednesday       fr.om home or school :at 11 :30 a:m. or child to Plaintiff's residence after      i
                 2:45 p.m.      lfi for (l.Ily reason; the dinner at 7:00 p.m.                     I
                 Defendant is unable to pick up the
                 minor child from school on the
                                                                                                   I
                 Woonesdays that he has visitation, .he
                 shall proVide the Plaintiff ample notice                                          I
                                                                                                   I
                                                                                                   !
                 of same so that she may m~ke
                 arr~mg,~m~!§ tq pick µp the mipw qpJli;l
                 from school. Defendant. may then pick
                 up tbe minor clit1d. from Plaintiffs
                 residence at 5:30 f() begin visitation.



  Second and     Defendant may pick up the minor child Defendant shall return the minor
  Fourth          from home or school at 11 :3Q a.m. or child to 'Pl{lintiff's resid<mce aft~
  Monday         2:4:5 p.m.           Defendant will be dinner at 7:00 p.m.
  (Weeks that    resp6rtsible for taking the minor child to
  Defendant       kmrton on the designated Mondays. If
  do~s not hqve. for anY .reason Defendant is unable to
. weekend        pick up the minor child from school.• he
  visittJ.tiDll) .sball notify Plaintiff at least two (2)
                 hours in advance so that she may make
                 attangements to pick Up the minor child
                 and erisU.fe her attendance lit Kumon.
                 Defendant may then pick up the minor
                 child from Plaintiff's residence lit 5:30
                   .m.




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                d.        HOLIDAYS. Defendant shall be entitled to Holiday visitation, as follows:


                                                                                                        I
 Thanksgiving        Defendant      shall have overnight      Defendant shall return the minor
                                                                                                        Ii
                     visitation with the minor child          child to Plaintifrs residence on the
                     beginning on Thanksgiving Day at 4:00    Friday after Thanksgiving at 10:00        I
                     p.m. Defendant wiJl be responsible for   a.m.
                     picking up the minor child from
                     Plaintiffs residence.


  Christmas          Defendant shall have overnight           Defendant shall return the minor
                     visitation with the minor child          child fo Plaintiff's residence _o n the
                     beginning on Christmas Day at 2:00       following morning after breakfast at
                     p.m. Defendant will be responsible for   10:00 a.m. ·
                     picking up the minor child from
                     Plaintifrs residence.



                e.        The Defendant shall be permitted to talce the minor child skiing in

Colorado for a period of five days between December 28 and January 151 • The Defendant must

transport and accompany the minor child to Colorado by a oommercial airline. Defendant shall

not transport the minor child without an interlock device or appropriate toddler car seat, therefore

Reed Moody or Lawson Moody must drive any and all vehicles that will ·transport the child

while on the out of state trip. During the ski trip, either Reed Moody or Lawson Moody, must

supervise the Defendant's visitation at all times. Within a reasonable time prior to leaving the

State of Arkansas, either Reed Moody or Lawson Moody must file a written letter or !lotice with

the Court notifying the Court that he will be traveling with and supervising Defendant's

visitation, that he will not allow Defendant to drive the child in a vehicle without an interlock

device and will be responsible for driving the minor child at all times while out of state. Prior to



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departure, Defendant shall provide the Plaintiff with all travel arran.gements, including but not

limited to dates and times of travel and flight numbers. Plaintiff will pack all proper seasonal

clothing for the trip, but Defendant Will be responsible for the cost of a ski suit, goggles and any

other items necessary for the trip. Plaintiff wilJ be entitled to speak to the minor child at least

once per day while she is away on the trip.

               f.     . The Defendant shall be entitled to any other visitation with the minor child

that may be agreed upon by the parties.

               g.      If the Defendant' desires to change any of bis regular weekday or weekend

visitation, 8uch change must be agreed upon by the parties and notice must be provided to the

Plaintiff within forty-eight (48) hours of the scheduled visitation.

               h.      Neither party shall smoke, consume alcohol or illegal drugs, or abuse

       prescription medication while the minor child is in their respective care and custody.

               i.      Defendant shall not consume any alcohol at least twelve (12) hours prior

to any visitation with the minor child. Plaintiff may, at her discretion, perfonn a portable

breathalyzer test upon the Defendant at either any drop off or pick up of the minor child. If

Defendant either refuses to cooperate with the portable breathalyzer test, or should he have

positive test results, Plaintiff may immediately tenninate Defendant's visitation until a hearing

may be he1d before the Court.

               j.      Pending a final hearing of this matter, the minor child shall at all times be

transported in a vehicle equipped with a functioning engine interlock device while in the

Defendant's care and custody, \vith the exception of a ski trip with the minor child, more

particularly described in subparagraph (e) herein above. If for any reason the Defendant fails to




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 pick up the minor child in a vehicle with a functioning engine interlock device or drive the minor
                                                                                                       i
 child in such a vehicle, Defendant will not receive his scheduled visitation.

                    k.   Neither party shall make disparaging remarks about the other parent, nor
                                                                                                       l
 allow a third party to do so while the minor child is present.
                                                                                                       I'
                    I.   Unless related by blood or marriage, neither party shall have guests of the

 opposite sex of which they are romantically involved at anytime while the minor child is in his or

 her respective care and custody.

                    m~   Each party shall be responsible for insuring the minor child is timely

 present for school or any extracurricular activities while the minor child is in their care and

 custody.

                    n.   The parties shall immediately notify the other if the minor child becomes

 injured or ill. If medication is required, they shall provide the other parent with the child's

 current treatment and medications as needed. The parties shall immediately notify the other .

 parent prior to leaving the state for any reason, including any and all contact infonnation during

 their travel for purposes of notifying the other party should an emergency arise concerning the

 minor child.

                    o.   Plaintiff shall have the right to suspend visitation based upon alcohol use

 by Defendant in violation of the terms set forth herein.

                    p.   Defendant has the right to petition for the Court for overnight visitation

·beginning February 2012 as long as everything is going well and there have been no problems

 with visitation.

                    q.   Neither party shall leave the minor child unattended in a vehicle, public

restroom or otherwise at anytime.



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        3.      The Defendant shall be responsible for the payment of temporary child support in

the amoWlt of $20,000 based on his monthly net income of $156, 192. Defendant's child. support

obligation shall begin October 1, 2011, and payable on the first day of each month thereafter.

Plaintiff acknowledges receipt of $15,000 on October 1, 2011.            Defendant shall pay the

remaining $5,000 on or before October 15, 2011.

        4.      Plaintiff shall have temporary use and possession of the parties' marital residence

located at 10 Thomas Park Circle, Little Rock, Arkansas. Defendant shall vacate the premises on

or before Sunday, October 9, 2011.

        5.     Defendant has requested and the parties have agreed that he shall have temporary

use and possession of the fo11owing items from the marita] residence: the hutch/secretary in the

den; desk; and the dining room table and chairs.

        6.     Plaintiff shall have reasonable access and use of the parties' residence located at

3639 Wickersham, Houston, Texas, with at least a seven (7) day notice to Defendant. Defendant

will provide Plaintiff with a new key and the security access code in order to gain entrance to the

residence.

       7.      The parties currently have in excess of 2,500,000 frequent flyer miles.        The

parties shall each have reasonable access to use of such miles and neither party shall use more

than one-half (1/2) or 1,250,000 miles. Defendant shall fu]Jy cooperate in allowing Plaintiff

access codes and contact information for all frequent flyer mile accounts.

       8.      The parties have a 2009 Federal income tax refund of approximately $70,000.

Said refund shall be held in trust for disbursement upon entry of a subsequent order of this Court

or agreement of the parties.




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        9.      The parties have a USAA educational account (9036) for the college education of

the parties' minor child. As custodian of the account, the Plaintiff receives all statements and

correspondence regarding the account. Plaintiff shall provide a copy of the periodic statements

to the Defendant each month.

        10.     The Defendant shall pay the sum of $50,000 for the payment of Plaintiff's

incurred legal fees and expenses, as well as an advancement of $50,000 for future legal fees and

expenses, for a total of $100,000. Said fees should be paid on or before October 15, 2011.          I
Should Plaintiff's future legal and expert fees exceed $50,000, the parties shal1 agree upon a
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periodic disbursement for payment of same. If the parties are unable to reach an agreement on
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same, the Plaintiff may petition the court for a hearing on payment of such expenses.
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        11.     In addition to the above referenced child support, Defendant shall be responsible

for the payment of the following expenses as set forth in the fourth column of the parties' Joint

Exhibit 1, titled "Mr. Moody to Pay", as well as payment of gas and electricity as listed in the

first column of the parties' Joint Exhibit.

               a.      Maintenance of medical and dental insurance and medical expenses for the

Plaintiff and minor child;

               b.      Expenses of the parties' marital home located at 10 Thomas Park Circle,

Little Rock, Arkansas to include: gas, electricity, fire insurance, borne maintenance, property

labor and taxes, pool service, property taxes, and trash service.

               c.

               d.
                       Tuition for the minor child to attend The Anthony School;

                       Any and all expenses related to the condo in Breckinridge, C-Olorado;
                                                                                                    I
               e.      Any and atJ expenses related to the parties' residence in Houston, Texas;    I
and                                                                                                 II

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               f.      The parties' federa1 and state income taxes.

        12.    The Defendant shall provide full and complete responses to the Interrogatories

 and ReqUests for Production of Documents propounded upon him by Plaintiff, as well ·as the

 Subpoena Duces Tecum to Sheila Hall, Ed Tyler, and Bobby Ring on or before October 24, ..
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2011. Plaintiff's Motion for Contempt     wm be held in abeyance pending said time to al1ow
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Defendant to comply.

       IT IS SO ORDERED.
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APPROVED AND ENTRY REQUESTED:                                                                   I
DOVER DIXON HORNE PLLC
425 West Capitol Avenue, Suite 3700
Little Rock, Arkansas 72201
Attorneys for Plaintiff
cso1.) 3 7 5 - 9 1 s 1 A _
By.~~~ Gary B. Rogers
       Arkansas Bar No. 82139

DODDS, KIDD & RYAN
313 West Second Street
Little Rock, Arkansas 72201
Attorneys for Defendant
(501) 375-    1


          sonC. Kidd
        -kansas Bar No. 75071




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